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Honorable Colleen Kollar-Kotelly
United States District Judge
United States Courthouse
300 Constitution Avenue, N.W.
Washington, D.C. 20001


March 22, 2023
Dear Honorable Judge Kollar-Kotely,
My name is Jacob Cohen, and I am a staff member of Carnegie Mellon University in Pittsburgh, PA,
where I serve as a Coordinator of Student Support Resources within the Office of the Dean of Student
Affairs. I met Thomas Carey for the first time on Friday September 16th, 2022. I’d received a report at
my office the previous day that Thomas had been arrested here in Pittsburgh in relation to his activities
on January 6th, 2021.
As standard procedure, our office conducts outreach to students who have had law enforcement
interaction. I sent Thomas an email on Thursday evening, September 15th, 2022, inviting him to meet
with me. Based on the nature of the allegations that I was made aware of, I did not expect the involved
student to respond to my outreach or to speak with me regarding their situation. In honesty, I was truly
surprised when Thomas replied to my email and was eager to meet with me the next day.
Thomas expressed sincere gratitude that I had reached out to him, and explained he’d not expected this
but that it meant a great deal to him. He went on to explain the details of his situation and the
experiences that he had. He described being truly appreciative of how he was treated by the law
enforcement officials, explained that he was fully cooperating with them, and asserted that he wanted
to be transparent with CMU as well. Thomas went on to describe how important his academic pursuits
are to him at Carnegie Mellon University, the personal challenges, isolation, and insecurities he’s
navigated as a student, and the opportunities for personal and professional growth that he has been
engaging in over the past year. His emerging leadership role within CMU’s Game Creation Society, one
of our student organizations, has been particularly meaningful for Thomas.
Since our first meeting in September, Thomas and I have met another 8 times for about an hour each
meeting, and we will continue to meet during the remainder of his graduating semester here at CMU.
This is by no means a requirement from the university, but an opportunity for reflection and growth that
Thomas has made good use of.
Throughout the time that I’ve spent with Thomas, I’ve been struck by his willingness to be vulnerable, to
reflect on his life experiences, and to embrace accountability for his actions. It’s been apparent to me
that Thomas also embraces the pluralistic and culturally diverse environment we celebrate at CMU, and
I have come to view him as a valued community member and future alumnus.
Sincerely,
Jacob Cohen MS, NCC
Carnegie Mellon University
